                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re Dealer Management Systems Antitrust
Litigation, MDL 2817
                                                      No. 1:18-CV-864

This document relates                                 Hon. Robert M. Dow, Jr.
to: ALL ACTIONS
                                                      Magistrate Judge Jeffrey T. Gilbert


          SECOND STIPULATED AMENDED CASE MANAGEMENT ORDER

       Reserving all rights, the parties have stipulated to the following proposed amended sched-

ule for the completion of expert discovery, Daubert motions, and dispositive motions.

       IT IS HEREBY ORDERED that the Stipulated Amended Case Management Order (Dkt.

616) (as amended by the May 15, 2019 order of Magistrate Judge Jeffrey T. Gilbert (Dkt. 695)),

applicable to all actions consolidated in this MDL, is amended in part to reflect following dead-

lines. All other deadlines not listed below shall remain unaffected.

                              EVENT                                              DATE

 A. DISCOVERY (ALL PARTIES)

     1. Opening Merits Expert Reports                                  August 26, 2019
     2. Rebuttal Merits Expert Reports                                 October 25, 2019
     3. Reply Merits Expert Reports                                    November 25, 2019
     4. Deadline to Complete Expert Depositions                        January 10, 2020
 B. DAUBERT MOTIONS (ALL PARTIES)
     5. Deadline for Daubert Motions                                   February 7, 2020
     6. Deadline for Responses in Opposition to any Daubert            March 11, 2020
        Motions
     7. Deadline for Replies in Support of any Daubert Motions April 3, 2020
 C. DISPOSITIVE MOTIONS (ALL PARTIES)
     8. Deadline for Dispositive Motions                               February 21, 2020
                             EVENT                                                DATE

   9. Deadline for Responses in Opposition to any Disposi-             April 8, 2020
      tive Motions
   10. Deadline for Replies in Support of any Dispositive Mo-          May 1, 2020
       tions

STIPULATED AND AGREED:



/s/ Derek T. Ho                                       /s/ Peggy J. Wedgworth
Derek T. Ho                                           Peggy J. Wedgworth
Michael N. Nemelka                                    Elizabeth McKenna
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Counsel for Authenticom, Inc.; Loop, LLC,             Interim Lead Counsel for the Dealership
d/b/a AutoLoop on behalf of itself and all oth-       Plaintiffs
ers similarly situated; and Motor Vehicle
Software Corp.




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/s/ Britt M. Miller                          /s/ Aundrea K. Gulley
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Counsel for Defendants CDK Global, LLC       Counsel for Defendant The Reynolds and Reyn-
and Computerized Vehicle Registration        olds Company




                                              SO ORDERED:



 DATED: _________, 2019                       ____________________________________
                                              Hon. Robert M. Dow, Jr
                                              UNITED STATES DISTRICT COURT JUDGE




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                                CERTIFICATE OF SERVICE

I, Aundrea Gulley, an attorney, hereby certify that on August 12, 2019, I caused a true and cor-
rect copy of the foregoing SECOND STIPULATED AMENDED CASE MANAGEMENT
ORDER, to be filed and served electronically via the court’s CM/ECF system. Notice of this fil-
ing will be sent by email to all parties by operation of the court’s electronic filing system or by
mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the court’s CM/ECF System.

                                              /s/ Aundrea Gulley
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